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               IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF OKLAHOMA

BIG CAT RESCUE CORP., a Florida          )
not-for-profit corporation,              )
                                         )
                          Plaintiff,     )
                                         )
              vs.                        )               No. CIV-14-377-C
                                         )
G.W. EXOTIC ANIMAL MEMORIAL              )
FOUNDATION, an Oklahoma not-for-         )
profit corporation; THE GAROLD           )
WAYNE INTERACTIVE ZOOLOGICAL )
FOUNDATION, an Oklahoma not-for-         )
profit corporation; JOHN REINKE,         )
individually; JOHN FINLAY, individually; )
BOBBI LYNN CORONA, individually;         )
SATRINA GAYLE McANALLY,                  )
individually; BENJAMIN McANALLY,         )
individually; and SHIRLEY                )
SCHREIBVOGEL, individually,              )
                                         )
                          Defendants.    )

                      MEMORANDUM OPINION AND ORDER

       Plaintiff filed a Motion for Partial Summary Judgment (Dkt. No. 141) on December

1, 2015. Defendant The Garold Wayne Interactive Zoological Foundation filed a Response

(Dkt. No. 158), and Plaintiff replied (Dkt. No. 161). The Motion is at issue. The facts below

are undisputed, unless otherwise noted:

       Defendant G.W. Exotic Animal Memorial Foundation (“Old Zoo”) was a not-for-

profit corporation founded and incorporated in 1999 by Joseph Schreibvogel

(“Schreibvogel”) together with his parents, Shirley and Francis Schreibvogel. The letters

“G.W.” in Old Zoo’s name represented the first and middle initials of the name of
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Schreibvogel’s deceased brother, Garold Wayne. Old Zoo owned and operated an exotic

animal park and zoo which was also a rescue organization for tigers and other exotic animals.

Old Zoo was able to exhibit exotic animals due to Schreibvogel, who had a USDA animal

exhibitor’s license. Old Zoo’s 2012 federal tax return reported 2012 revenue of $671,430.00

and year-end assets totaling $622,165.00. Old Zoo’s 2013 federal tax return listed total

assets at dissolution with a book value at $625,088.00. Old Zoo’s board of directors had the

following members: Schreibvogel, Defendant John Finlay (“Finlay”), Defendant Bobbi

Lynn Corona, Defendant John Reinke (“Reinke”), Beth Corley, Defendant Satrina Gayle

McAnally, and Defendant Benjamin McAnally.*

       Plaintiff Big Cat Rescue Corp. obtained civil consent judgments and permanent

injunctions against Old Zoo and Schreibvogel in three civil proceedings in the United States

District Court for the Middle District of Florida. The judgments were based on trademark

infringement, false designation of origin, unfair competition, misrepresentation, and

copyright infringement. The judgments totaled more than $1 million. Within days of the

judgments, Defendant and Old Zoo vice president/director Finlay filed a name reservation

with the Oklahoma Secretary of State to reserve the name “The Garold Wayne Interactive

Zoological Foundation” and a day later, Old Zoo and director Reinke incorporated The

Garold Wayne Interactive Zoological Foundation (“New Zoo”). The New Zoo incorporation

       *
         Big Cat Rescue filed a Stipulation for Dismissal of Defendants John Finlay (Dkt. No.
171), John Reinke (Dkt. No. 172), Shirley Schreibvogel (Dkt. No. 173), Satrina McAnally (Dkt.
No. 169), and Benjamin McAnally (Dkt. No. 169) on all claims. An entry of judgment was
entered against Defendant Bobbi Lynn Corona (Dkt. No. 68). New and Old Zoo are the only
Defendants left in this action.

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fee was paid for by Old Zoo. Old Zoo then dissolved. Upon Old Zoo’s dissolution, it

transferred to New Zoo vendor accounts and gift shop inventory, among other assets. New

Zoo did not assume any of Old Zoo’s liabilities.

       Plaintiff alleges that New Zoo is a successor-in-interest to Old Zoo because both Zoos

have the same business and namesake, mission statement, address and phone number, key

personnel, vendors, and revenue sources, among other things. Because New Zoo is a

successor to Old Zoo, Plaintiff argues that New Zoo is required to pay the judgments that

were obtained against Old Zoo. Plaintiff also argues that Old Zoo’s transfer of valuable

assets to New Zoo was done with the intent to hinder, delay, or defraud Plaintiff and

constitutes a fraudulent transfer pursuant to 24 Okla. Stat. § 116(A)(1). By way of an agreed

judgement entered February 1, 2016 (Dkt. No. 182), the parties have stipulated that Plaintiff

is entitled to judgment on Plaintiff’s two causes of action, but request the Court to determine

damages on the fraudulent transfer claim.

       The parties have agreed that the Defendant violated the Uniform Fraudulent Transfers

Act. The Court finds the proper measure of damages is the $1,028,000.00 judgments entered

against Old Zoo plus interest provided by law. However, the Defendant has already agreed

in the Agreed Judgment that it would pay the total cost of the three civil judgments against

it. Of course Plaintiff is not entitled to recover twice on these judgments. No argument has

been made regarding a claim for punitive damages, and none will be awarded in this Order.

                                      CONCLUSION



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      Accordingly, Plaintiff’s Motion for Partial Summary Judgment (Dkt. No. 141) is

GRANTED. Defendant The Garold Wayne Interactive Zoological Foundation is ordered to

pay $1,028,000.00, plus interest as provided by law, to Plaintiff. A judgment will enter

accordingly.

      IT IS SO ORDERED this 2nd day of February, 2016.




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